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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   )    Chapter 11
                                                             )
    CODIAK BIOSCIENCES, INC., et al.,1                       )    Case No. 23-10350 (MFW)
                                                             )
                                  Debtors.                   )
                                                             )

                                  SUPPLEMENTAL AFFIDAVIT OF SERVICE

       I, Stephanie Delgado, depose and say that I am employed by Stretto, the claims and noticing
agent for the Debtors in the above-captioned cases.

        On or before June 17, 2023, Stretto in accordance with USPS forwarding instructions
served the following document via first-class mail on the service list attached hereto as Exhibit A
and on two (2) confidential parties not included herein:

      •      Notice of Motion of the Debtors for Entry of an Order (I) Authorizing the Dismissal
             of the Debtors’ Chapter 11 Cases; and (II) Granting Related Relief (attached hereto as
             Exhibit B)

        Furthermore, on June 20, 2023, Stretto in accordance with USPS forwarding instructions
served the following documents via first-class mail on Seeq Corporation at 113 Cherry St, Seattle,
WA 98104-2205:

      •      Notice of Occurrence of Sale Closing Date (Astellas) (Docket No. 264)

      •      Notice of Occurrence of Sale Closing Date (Evox) (Docket No. 265)




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_____________________________________________________
1
  The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
numbers, are: Codiak BioSciences, Inc. (6530); and Codiak Securities Corporation (6336). The Debtors’ mailing
address is Care of Province, LLC, 2360 Corporate Circle, Suite 340, Henderson, NV 89074 (Attn: Paul Huygens,
CRO).
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                    Exhibit A
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                                                                             Exhibit A
                                                                    Served Via First-Class Mail
                              Name                        Attention                    Address 1           Address 2     City      State       Zip
             Allied Universal Technology Services Attn: Michael Devita, Jr   187 Ballardvale St            Ste A170 Wilmington MA          01887-1056
             Boston Lab Services, Inc.            Attn: Elden Lainez         18 Terry Ave                  #1        Burlington MA         01803-2516
             Christopher Seifarth                                            2986 New Hanover Square Rd              Gilbertsville PA      19525-9601
             Dublin Lab Services, LLC                                        235 Cambridge St              Unit 103  Burlington MA         01803-2544
             Oxford Global Resources, LLC                                    900 Cummings Ctr              Ste 326T Beverly        MA      01915-6181




In re: Codiak BioSciences, Inc., et al.
Case No. 23-10350 (MFW)                                                                                                                                 Page 1 of 1
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                    Exhibit B
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                         Chapter 11

    Codiak BioSciences, Inc., et al.,1                             Case No. 23-10350 (MFW)

                                        Debtors.                   (Jointly Administered)

                                                                   Ref. Docket No. 248


           NOTICE OF MOTION OF THE DEBTORS FOR ENTRY OF AN ORDER
      (I) AUTHORIZING THE DISMISSAL OF THE DEBTORS’ CHAPTER 11 CASES;
                      AND (II) GRANTING RELATED RELIEF

TO:          ALL CREDITORS AND EQUITY HOLDERS; IF YOU ARE A NOMINEE OR
             RECORD HOLDER FOR A BENEFICIAL HOLDER OF EQUITY, YOU ARE
             REQUESTED TO FORWARD THIS NOTICE TO YOUR BENEFICIARY

               PLEASE TAKE NOTICE that the above-captioned debtors and debtors in
possession (together, the “Debtors”) have filed the Motion of the Debtors for Entry of an Order
(I) Authorizing the Dismissal of the Debtors’ Chapter 11 Cases; and (II) Granting Related Relief
(the “Motion”).2 You may obtain a copy of the Motion free of charge from the website of Stretto,
Inc. (“Stretto”), the Debtors’ claims and noticing agent, at https://cases.stretto.com/codiak.

                PLEASE TAKE FURTHER NOTICE that, through the Motion, the Debtors seek
entry of the Initial Order and the Dismissal Order, pursuant to sections 105(a), 305(a), 349, 365,
and 554 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”).
Among other things, the Initial Order (a) sets forth procedures for the filing and approval of final
fee applications for professionals employed in these chapter 11 cases pursuant to sections 327,
328, 363 or 1103 of the Bankruptcy Code (collectively, the “Professionals”); (b) authorizes the
rejection of the Debtors’ remaining executory contracts and unexpired leases pursuant to section
365 of the Bankruptcy Code; (c) authorizes the Debtors to abandon their remaining books and
records; and (d) authorizes the Debtors to take all reasonably necessary steps to dissolve under
applicable state law. Among other things, the Dismissal Order (a) dismisses the Debtors’ chapter
11 cases pursuant to section 305(a) of the Bankruptcy Code; (b) relieves Stretto of its
responsibilities as the Debtors’ claims and noticing agent; (c) provides that all prior orders,
stipulations, settlement, rulings, orders, and judgments of the United States Bankruptcy Court for
the District of Delaware (the “Court”) made during the course of these chapter 11 cases are in full

1
      The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
      numbers, are: Codiak BioSciences, Inc. (6530); and Codiak Securities Corporation (6336). The Debtors’ mailing
      address is Care of Province, LLC, 2360 Corporate Circle, Suite 340, Henderson, NV 89074 (Attn: Paul Huygens,
      CRO).
2
      Capitalized terms use but not defined herein have the meanings ascribed to such terms in the Motion.
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force and effect and otherwise unaffected by the dismissal of these chapter 11 cases; and
(d) terminates the retention of Debtors’ Professionals.

               PLEASE TAKE FURTHER NOTICE that, if you are a party to an executory
contract or unexpired lease that has not previously been rejected or assumed and assigned by order
of the Court and has not expired by its own terms, such executory contract or unexpired lease shall
be deemed rejected effective as of the date the Initial Order is entered.

               PLEASE TAKE FURTHER NOTICE that the Debtors believe they have
sufficient funds under the Budget to pay all administrative expense claims arising under section
503(b) of the Bankruptcy Code after March 27, 2023 (each, an “Administrative Expense
Claim”). If you believe you are entitled to payment of an Administrative Expense Claim, you are
encouraged to (i) file a request for payment of such Administrative Expense Claim no later than
4:00 p.m. (ET) on July 7, 2023 with the United States Bankruptcy Court for the District of
Delaware, 3rd Floor, 824 North Market Street, Wilmington, Delaware 19801 and (ii) send a copy
of such Administrative Expense Claim request to the undersigned counsel to the Debtors.

               PLEASE TAKE FURTHER NOTICE that any objections to the Motion must be
filed on or before June 20, 2023 at 4:00 p.m. (ET) (the “Objection Deadline”) with the United
States Bankruptcy Court for the District of Delaware, 3rd Floor, 824 North Market Street,
Wilmington, Delaware 19801. At the same time, you must serve a copy of any objection upon the
undersigned counsel to the Debtors so as to be received on or before the Objection Deadline.

           PLEASE TAKE FURTHER NOTICE THAT A REMOTE HEARING ON THE
MOTION WILL BE HELD ON JUNE 27, 2023 AT 3:00 P.M. (ET) BEFORE THE
HONORABLE MARY F. WALRATH, UNITED STATES BANKRUPTCY COURT JUDGE
FOR THE DISTRICT OF DELAWARE.

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         PLEASE TAKE FURTHER NOTICE THAT, IF YOU FAIL TO RESPOND
IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR A HEARING.

Dated: June 6, 2023        YOUNG CONAWAY STARGATT & TAYLOR, LLP
Wilmington, Delaware
                           /s/ Elizabeth S. Justison
                           Michael R. Nestor (No. 3526)
                           Joseph Barry (No. 4221)
                           Ryan M. Bartley (No. 4985)
                           Elizabeth S. Justison (No. 5911)
                           Andrew A. Mark (No. 6861)
                           Emily C.S. Jones (No. 7071)
                           1000 North King Street
                           Rodney Square
                           Wilmington, Delaware 19801
                           Tel.: (302) 571-6600
                           Facsimile: (302) 571-1253
                           Email: mnestor@ycst.com
                                   jbarry@ycst.com
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                                   ejustison@ycst.com
                                   amark@ycst.com
                                   ejones@ycst.com

                           Counsel for Debtors and Debtors in Possession




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